
Upon consideration of the Petition for Reinstatement of Samuel Sperling and the responses filed thereto, in the above captioned case, it is this 28th day of September, 2018,
ORDERED, by the Court of Appeals of Maryland, a majority of the Court concurring, that the petition be, and it is hereby, GRANTED, and the petitioner, Samuel Sperling, be, and is hereby, reinstated to *400the practice of law in this State; and it is further
ORDERED, that the Clerk of the Court shall replace the name of Samuel Sperling upon the register of attorneys entitled to practice law in this State and certify that fact to the Trustees of the Client Protection Fund and the Clerks of all judicial tribunals in this state.
